             Case 3:05-cr-00395-CRB         Document 349           Filed 06/05/06   Page 1 of 3



1    KEVIN V. RYAN (CSBN 118321)
     United States Attorney
2
     MARK L. KROTOSKI (CSBN 138549)
3    Chief, Criminal Division
4    PETER B. AXELROD (CSBN 190843)
     LAUREL BEELER (CSBN 187656)
5    Assistant United States Attorneys
6       450 Golden Gate Avenue, Box 36055
        San Francisco, California 94102
7       Telephone: (415) 436-6774
        Facsimile: (415) 436-7234
8
     Attorneys for Plaintiff
9
10                                UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                    SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA,                    )       No. CR 05-00395 CRB
                                                  )
15           Plaintiff,                           )       REQUEST, STIPULATION AND ORDER
                                                  )
16      v.                                        )
                                                  )
17   JIMMY GONG YAN LEE,                          )
                                                  )
18           Defendant.                           )
                                                  )
19
             This matter is currently on the Court’s calendar for June 7, 2006. Through counsel,
20
     defendant Jimmy Gong Yan Lee and the United States ask the Court to (a) vacate the June 7,
21
     2006 date based on the defendant’s anticipated plea agreement, (b) set a date of July 12, 2006 for
22
     change-of-plea, and (c) exclude time under the Speedy Trial Act, 18 U.S.C. § 3161 from June 7,
23
     2006, to July 12, 2006.
24
        1. The parties are currently working out the language of a plea agreement and request that the
25
     Court set the matter for July 12, 2006, for change-of-plea.
26
        2. The parties agree that the time between June 7, 2006 and July 12, 2006 should be
27
     excluded from the Speedy Trial clock. Previously, the Court has declared this case complex.
28
     ORDER
     CR 05-00395 CRB
                                                      1
             Case 3:05-cr-00395-CRB          Document 349        Filed 06/05/06      Page 2 of 3



1    See 18 U.S.C. § 3161(h)(8)(B)(ii). Further, defense counsel is investigating the immigration
2    consequences of a plea. That matter needs a short amount of time to be resolved, and thus the
3    parties agree that a continuance is necessary for the effective preparation of defense counsel,
4    taking into account the exercise of due diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv). The parties
5    also agree that the ends of justice served by excluding the period from June 7, 2006 to July 12,
6    2006 outweigh the interest of the public and the defendant in a Speedy Trial. See id. §
7    3161(h)(8)(A).
8         STIPULATED:
9
       June 2, 2006                                   /S/ PETER B. AXELROD
10   DATE                                          PETER B. AXELROD
                                                   LAUREL BEELER
11                                                 Assistant United States Attorneys
12
        June 2, 2006                                 /S/ ALAN DRESSLER
13   DATE                                          ALAN DRESSLER
                                                   Attorney for Jimmy Gong Yan Lee
14
15
16                                                ORDER
17        For good cause shown, and for the reasons stated above, the Court (a) vacates the June 7,
18   2006, hearing date for defendant Jimmy Gong Yan Lee based on the anticipated plea agreement,
19   (b) sets the matter for change-of-plea on July 12, 2006, at 2:15 p.m., and (c) excludes times under
20   the Speedy Trial Act, 18 U.S.C. § 3161, from June 7, 2006, to July 12, 2006. The Court finds
21   that the failure to grant the requested exclusion would deny defense counsel reasonable time
22   necessary for effective preparation taking into account the exercise of due diligence. Further, the
23   Court finds the exclusion warranted on complexity grounds, under 18 U.S.C. § 3161(h)(8)(B)(ii).
24   Thus, the Court finds that the ends of justice served by granting the requested exclusion outweigh
25   the best interest of the public and the defendant in a speedy trial and in the prompt disposition of
26   criminal cases. The Court therefore concludes that this exclusion of time should be made under
27   \\
28
     ORDER
     CR 05-00395 CRB
                                                      2
            Case 3:05-cr-00395-CRB          Document 349             Filed 06/05/06    Page 3 of 3



1    18 U.S.C. §§ 3161(h)(8)(A), (h)(8)(B)(ii) and (h)(8)(B)(iv).
2       IT IS SO ORDERED.

                                                                  ISTRIC
                                                             ES D
3
                                                            T            TC
4           June 5, 2006
     DATED:________________                              T A
                                                  ___________________________




                                                                                       O
                                                         S
                                                  CHARLES R. BREYER




                                                                                        U
                                                       ED
5                                                 United States District Judge




                                                                                         RT
                                                                               DERED




                                                   UNIT
                                                                    O OR
6                                                           IT IS S




                                                                                               R NIA
7
                                                                                    reyer
                                                                            les R. B



                                                   NO
                                                                         har
                                                                 Judge C
8




                                                                                               FO
                                                     RT




                                                                                            LI
9
                                                            ER

                                                         H




                                                                                       A
                                                                 N                         C
10                                                                                     F
                                                                     D IS T IC T O
11                                                                         R

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     ORDER
     CR 05-00395 CRB
                                                     3
